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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


 SECURJTIES AND EXCHANGE
 COMMISSION,
                                                          Civil Action No. 1 :23-cv-01599-ABJ
                         Plaintiff,

          V.

 BINANCE HOLDINGS LIMITED, et al.,

                         Defendants.


                      DECLARATION OF CHRISTIAN KEMNITZ
               IN SUPPORT OF MOTION FOR ADMISSION PRO HAC VICE

         I, Christian Kemnitz, hereby declare and state as follows:

         1.     I submit this declaration in support of the motion of Robert T. Smith for my

admission to practice pro hac vice in the above captioned matter.

         2.     My full name is Christian Todd Kemnitz. I am an attorney of the law firm Katten

Muchin Rosemnan LLP, 525 West Monroe Street, Chicago, Illinois 60661. My telephone

number is (312) 902-5200.

         3.     I am a member in good standing of the Illinois bar.

         4.     I have never been disciplined by any bar and there are no pending disciplinary

proceedings against me in any bar. I am not currently disbarred in any court, and I have not

been denied admission to the courts of any state or any court of the United States.

         5.     I have been admitted pro hac vice in this Court zero times within the last two

years.

         6.     I do not regularly practice law from any office located in the District of

Columbia and I am not a member of the DC bar.



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